
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1582

                          WILLIAM LANGTON AND DAVID LEBLANC,

                               Plaintiffs - Appellees,

                                          v.

                             WILLIAM HOGAN, JR., ET AL.,

                               Defendants - Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Rya W. Zobel, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                             and Keeton,* District Judge.
                                          ______________

                                _____________________

               Robert  J. Munnelly,  Jr., Assistant Attorney  General, with
               _________________________
          whom Scott Harshbarger, Attorney General  of Massachusetts, Karen
               _________________                                      _____
          Laufer,  Assistant Attorney General, and Philip  W. Silva IV were
          ______                                   ___________________
          on brief for appellants.
               Dennis J. Bannon for appellees.
               ________________



                                 ____________________

                                  November 21, 1995
                                 ____________________

                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    KEETON,  District   Judge.    This  is   an  appeal  by
                    KEETON,  District   Judge.
                             ________________

          Defendants-Appellants from a 1995  Judgment of the district court

          modifying,  on motion  of Defendants-Appellants,  but not  to the

          full  extent they  requested, a  Permanent Injunction  ordered in

          1984.  We  treat the 1995 Judgment  as in essence  a ruling on  a

          motion for modification of a consent decree that did no more than

          decide the issues before  the court, as the matter  was presented

          by Defendants-Appellants.  Discerning no error of law, no clearly

          erroneous finding of fact, and no abuse of discretion, we affirm.



                     I.  Background Facts and Procedural History
                     I.  Background Facts and Procedural History

                    In  1979, the  Plaintiffs-Appellees,  two inmates  of a

          Massachusetts  correctional institution,  filed  a  civil  action

          under  42  U.S.C.     1983, claiming,  among  other  things, that

          predecessors of  Defendants-Appellants in positions  of authority

          in the institution and the state correctional system had violated

          and were continuing to violate  constitutionally protected rights

          of  the inmates  by intercepting  and monitoring  their telephone

          calls,  including calls to their counsel as well as other private

          calls,  and that  such interception  and monitoring  violated the

          federal and state wiretapping statutes, 18 U.S.C.    2510 et seq.
                                                                    __ ____

          and Mass. Gen. L. ch. 272,    99 et seq. 
                                           __ ____

                    For convenience, we will refer  to Plaintiffs-Appellees

          as plaintiffs or by name, and Defendants-Appellants as defendants

          or the Department of Correction.

                    In  1984,  after  negotiations  of  the  parties,   and


                                         -2-














          consultations of counsel and the judge to whom the case had  been

          randomly  assigned,   the  parties  entered  into   a  Settlement

          Stipulation, dated  October 17,  1984, providing for  a Permanent

          Injunction  in the form of an attached exhibit, and a Judgment of

          Dismissal  in the form of another attached exhibit.  The district

          court (Zobel, D.  J.) approved  the settlement and  made the  two

          orders.  One  was the  Judgment of Dismissal,  reciting that,  in

          view of the Settlement Stipulation, 

                    all of the claims  by both plaintiffs in this
                    action  are  dismissed  with   prejudice  and
                    without  costs  or  attorney's  fees  to  any
                    party.

          App. 000029.  

          The  other was a Permanent  Injunction in view  of the Settlement

          Stipulation:  

                      1.      All  officers,   agents,  servants,
                    employees and attorneys  of the Department of
                    Correction  are  enjoined permanently,  under
                    both 18 U.S.C.    2510 et  seq. and M.G.L. c.
                                           ________
                    272,      99   et  seq.,  from  intercepting,
                                   ________
                    endeavoring  to  intercept  or procuring  any
                    other   person   to   intercept,   any   wire
                    communication  by or  to  William Langton  or
                    David LeBlanc, inmates within the  custody of
                    the  Department,  without  a  specific  court
                    order or legislative  authorization to do so,
                    except  as  specifically  permitted by  these
                    statutes, taken together,  as they have  been
                    amended or  may be  amended and as  they have
                    been construed in reported decisions that are
                    binding in this Court  or in the state courts
                    of Massachusetts.

                      2.    This  Permanent  Injunction,  entered
                    pursuant to the Settlement  Stipulation dated
                    October 15, 1984, shall operate prospectively
                    only.  It shall  not of its own  force affect
                    the rights of inmates of the Department other
                    than William Langton and David LeBlanc.


                                         -3-














          App. 000030-31.

                    The  Department of Correction  apparently complied with

          the Permanent  Injunction without  incident for almost  a decade,

          until April  1994, when it promulgated  new regulations governing

          telephone access and use by inmates, 103 C.M.R.    482.00 et seq.
                                                                    __ ____

          (hereinafter "the  Regulations").  These  Regulations, ostensibly

          applicable  to all  inmates  in all  Department institutions  and

          facilities, instituted  a system of routine  monitoring of inmate

          telephone  calls by  the  Department of  Correction and  required

          inmates  to  sign  a  form  consenting  to  having  their   calls

          monitored,  or  be  deprived  of their  telephone  access.    The

          Regulations also limited the number of telephone calls that could

          be made by  inmates to  ten monitored calls  to non-lawyers,  and

          five  non-monitored  calls  to  lawyers.   All  telephone  calls,

          whether lawyer or non-lawyer, were required to be pre-approved.

                    The Department  of Correction  sought to apply  the new

          Regulations  to  plaintiffs.    Plaintiffs refused  to  sign  the

          consent  forms and were denied  telephone access.   In June 1994,

          plaintiffs  filed  a  Petition  for Contempt  alleging  that  the

          Department of Correction  had prohibited plaintiffs  from placing

          telephone calls unless they agreed to permit the recording of all

          their telephone calls.   Defendants moved to dismiss the petition

          for contempt, and plaintiffs filed an opposition to the motion to

          dismiss.  

                    While   the  motion  to   dismiss  was  still  pending,

          defendants filed,  in  January  1995,  a  Motion  to  Modify  the


                                         -4-














          Permanent Injunction

                    to allow for the restrictions, monitoring and
                    recording  of  plaintiffs'  telephone use  in
                    accordance    with    the    Department    of
                    Correction's  new telephone  regulations, 103
                    CMR 482.00 et seq.
                               _______

          App. 000077.

                    On February  21, 1995, Judge Zobel  signed a Memorandum

          of Decision, the last paragraph of which is as follows:

                      Defendants' motion to modify  the permanent
                    injunction is allowed to the extent that  the
                    Department    of    Correction   may    limit
                    plaintiffs'  access  in  accordance with  the
                    Regulations, 403 CMR    482.00 et seq.  It is
                                                   _______
                    denied  to the  extent that  defendants shall
                    not  monitor plaintiffs'  calls and    482.10
                    shall not apply to plaintiffs.  Counsel shall
                    submit  a  form  of judgment  reflecting  the
                    modification allowed.

          App. 000103.

                    Counsel having failed to agree upon a form of  judgment

          reflecting the modification allowed, Judge Zobel, on May 3, 1995,

          signed a Judgment as follows:

                      After  hearing on the defendants' Motion to
                    Modify  the  Permanent  injunction,   and  in
                    accordance  with  the  Court's Memorandum  of
                    Decision  dated  February  21,  1995,  it  is
                    hereby ordered and adjudged:

                      1.    The defendants  shall not  monitor or
                    record the telephone calls of the plaintiffs,
                    William Langton and David LeBlanc.

                      2.   The  provisions of  403 CMR    482.10,
                    shall not apply to the plaintiffs (except for
                    call  detailing, which  shall  apply  to  the
                    plaintiffs)  pending  further  order  of  the
                    court upon application of the defendants.

                      3.   Acceptance by each plaintiff  of a PIN
                    and  use of  inmate  telephones shall  not be
                    deemed  as  consent  to  the  conditions  and

                                         -5-














                    restrictions  placed  upon  inmate  telephone
                    calls,    including   call    monitoring   or
                    recording.

                      4.  The  defendants shall notify by  letter
                    each  non-attorney whose name  appears on the
                    plaintiffs' lists  of preauthorized telephone
                    numbers that the message  regarding recording
                    and monitoring should be disregarded and that
                    calls made by the  plaintiffs are not subject
                    to monitoring and recording.

                      5.  The plaintiffs  may request changes  in
                    their preauthorized telephone numbers  at any
                    time.        Such  changes   shall  be   made
                    expeditiously by the defendants provided they
                    are  in compliance  with the  restrictions on
                    the total  number  of personal  and  attorney
                    numbers  plaintiffs  are   allowed  to   call
                    pursuant to 403 CMR  482 et seq.  If,  at any
                                             _______
                    time,   defendants  believe   plaintiffs  are
                    abusing this arrangement,  they may  petition
                    the court for further relief.

                      6.     Defendants'  Motion  to  Modify  the
                    Permanent Injunction is allowed to the extent
                    that  the Department of  Correction may limit
                    plaintiffs'  access  in  accordance with  the
                    Regulations,  403 CMR    482.00  et seq.,  as
                                                     _______
                    amended, so  long as such  amendments do  not
                    change the substance of this order.

                      7.      Modification   of   the   Permanent
                    Injunction   entered   by   this   court   on
                    October 15,   1984   is   required  for   the
                    Department of Correction to apply  new inmate
                    telephone    access   regulations    to   the
                    plaintiffs.

          App. 000104-106.



             II.  The 1984 Permanent Injunction and Judgment of Dismissal
             II.  The 1984 Permanent Injunction and Judgment of Dismissal

                    The 1984  Permanent Injunction  was not in  the classic

          mold of  consent decrees, as two  orders were made rather  than a

          single integrated consent decree.  The terms of these two orders,

          however, were as  surely part of the  terms of the  settlement as

                                         -6-














          were  the   recitations  in  the  document   entitled  Settlement

          Stipulation.  In this case,  we take account of the terms  of all

          three  documents in construing each, and we conclude that they do

          not support the interpretation urged upon the district court, and

          here, as the primary contention of defendants.

                    This is an appeal from the district court's ruling on a

          motion  for  modification,  yet  defendants  have  not  presented

          arguments  as to  why the  1995 Judgment  should be  modified, in

          light of changes  in law or fact, to allow  the Regulations to be

          applied to  the plaintiffs.  Defendants instead  contend that the

          Regulations  should  be applied  to  the  plaintiffs because  the

          Regulations do  not violate, and  never have  violated, the  1984

          Permanent Injunction.     Defendants argue  that the federal  and

          state wiretapping statutes, as  they interpret those statutes, do

          not  prohibit  the  Regulations,   and  therefore  the  Permanent

          Injunction does not prohibit the Regulations.

                    Rather  than  argue  for  modification,  defendants, in

          essence, argue  that the  Permanent Injunction  did no  more than

          prohibit  them from  violating  law,  that  there was  never  any

          adjudication   that  they   had  violated   any  constitutionally

          protected  right of  plaintiffs, that  they yielded  nothing with

          regard to any  reasonably disputable issue of law or mixed-legal-

          factual  issue but merely  stipulated that they  would not commit

          certain types of violations  of law in the future,  and therefore

          that  when the district court in 1995 purportedly granted in part

          but  not fully  their motion  for  modification of  the Permanent


                                         -7-














          Injunction, the  court was in effect enlarging  the injunction in

          plaintiffs' favor  rather than granting limited  modifications in

          defendants'  favor in  order  appropriately to  tailor relief  to

          defendants'  showing, on the record  before the district court at

          the time it made its  1995 ruling, of changes in law or fact that

          warranted modification of the Permanent Injunction.

                    We  conclude that the position of Defendants-Appellants

          is flawed in several ways, as explained below.

                    If the Permanent Injunction did  not in any way enlarge

          the rights of plaintiffs beyond what they were under  defendants'

          proposed  interpretation  of the  law,  then  defendants gave  up

          nothing  in   settling  the  dispute.     This  is   an  unlikely

          interpretation  and we do not accept it.   If it were correct, no

          purpose  would be served by  the declaration in  paragraph 2 that

          the Permanent Injunction "shall  not of its own force  affect the

          rights of inmates  of the Department  other than William  Langton

          and David LeBlanc."   Defendants' contention, in effect,  asks us

          to hold  that both paragraph 1  and paragraph 2  were illusory --

          stating nothing  beyond what was already forbidden  by law before

          the Permanent Injunction was  entered.  This is not  a reasonable

          interpretation.   

                    The   usually  understood   meaning  of   a  Settlement

          Stipulation is that each party is agreeing to give up something -

          - to yield  on one  or more reasonably  plausible contentions  of

          law, or fact, or mixed-law-fact issues.  "[T]he agreement reached

          normally embodies  a compromise;  in exchange for  the saving  of


                                         -8-














          cost  and elimination of risk, the parties each give up something

          they  might have  won had  they proceeded  with the  litigation."

          United States  v.  Armour, 402  U.S. 673,  at 681  (1971).   When
          _____________      ______

          making an agreement for  a consent decree, the parties  to a case

          are agreeing  not to press any  of their disputes to  decision in

          court.    The  parties forego  "their  right  to  litigate issues

          involved  in the case and thus save themselves the time, expense,

          and inevitable risk of litigation." Armour,  402 U.S. at 681.  We
                                              ______

          so interpret  the Settlement Stipulation  of the parties  to this

          case.  The  parties' disputes thus  settled may include  disputes

          about applicable  law, disputes  about facts, and  disputes about

          mixed-legal-factual   issues,   including   disputes  about   the

          materiality under rules  of law (as  finally determined in  court

          proceedings at  trial  or on  appeal) of  particular disputes  of

          fact.

                    In  the   present  case,  it  was   clear,  before  the

          Settlement  Stipulation, that disputes of fact had been raised by

          the pleadings.  It might  reasonably be argued in support  of the

          position now  advanced by  defendants, however, that  rather than

          settling the merits of  these disputes the Settlement Stipulation

          rendered   them  moot.    Without  so   deciding,  we  assume  in

          defendants'  favor that  this is  so as  to any  strictly factual

          disputes.

                    As to the reasonably disputable issues of law or mixed-

          legal-factual  disputes,  a  settlement  and  consent  decree  in

          accordance  with   the  settlement  preclude   the  parties  from


                                         -9-














          reasserting  their contrasting  legal  arguments  on such  issues

          without having  first shown cause  for vacating or  modifying the

          consent  decree.  Whatever the law governing this case might have

          been  just  before  the   parties  entered  into  the  Settlement

          Stipulation,  the Permanent  Injunction  was a  lawfully  entered

          order of  court.  The law  as between the parties to  the case is

          what it  was agreed  to  be in  the  Permanent Injunction.    The

          Supreme Court has stated:

                    [T]he  scope  of  a consent  decree  must  be
                    discerned within its four corners, and not by
                    reference  to what might satisfy the purposes
                    of  one of  the  parties to  it  ....   [T]he
                    instrument   must  be  construed   as  it  is
                    written,  and  not  as  it  might  have  been
                    written  had  the  plaintiff [or  defendants]
                    established his [or their] factual claims and
                    legal theories in litigation.

          Armour,  402 U.S., at  681-82.  Accord,  Firefighters Local Union
          ______                          ______   ________________________

          No. 1784  v. Stotts, 467 U.S.  561, 574 (1984).   The parties are
          ________     ______

          not free to argue their contrasting legal theories of the meaning

          of the statutes  that underlie the Injunction, because  they gave

          up the right to have that dispute resolved by the court.
                               ____

                    We  take account  of the fact  that Armour  was decided
                                                        ______

          long before Rufo v. Inmates of Suffolk County Jail, 502  U.S. 367
                      ____    ______________________________

          (1992), and that Armour's holdings must be read today, especially
                           ______

          as applied to an institutional consent decree like that before us

          now, with sensitivity to any  modification of precedent that  the

          decision in  Rufo has  effected.   As we note  in Part  IV below,
                       ____

          however,  this point bears  principally upon whether modification

          of the Permanent  Injunction should  be made, not  upon what  the


                                         -10-














          Permanent Injunction  meant when  entered,  or meant  in 1994  or

          1995, absent modification.

                    We take account  also of unsettled questions  regarding

          whether  Armour was modified by  United States v. ITT Continental
                   ______                  _____________    _______________

          Baking Co., 420 U.S. 223 (1975).  We conclude, however, that even
          __________

          if ITT  is read as  liberalizing to some degree  the standard for
             ___

          going  outside  the  text  of  a  consent  decree  to  assist  in

          determining  its   meaning,  defendants  have  not   offered  any

          persuasive reason  for going  outside the  text of  the Permanent

          Injunction  in  this  case.    Even if  we  were  to  assume that

          ambiguity  of the meaning of the text of the Permanent Injunction

          warrants   our    consideration   of   extraneous    sources   of

          clarification,  defendants'  position  is  not  aided.    Looking

          outside  the text of  the Permanent  Injunction to  then existing

          law,  rather than  clarifying  defendants'  position, muddles  it

          further, because the  existing law  was uncertain and  yet to  be

          determined (as explained in Part III below).  We see no reason to

          permit defendants  to argue that genuine  disputes regarding what

          the state and federal  statutes prohibited defendants from doing,

          or  permitted them to do,  should be resolved  now in defendants'

          favor  and   thereby  control   the  meaning  of   the  Permanent

          Injunction.  Instead we hold that the Permanent Injunction (along

          with  the associated  documents) settled  those underlying  legal

          disputes.

                    The way in which  a consent judgment or  consent decree

          resolves,  between the parties, a  dispute over a  legal issue is


                                         -11-














          not a ruling  on the merits  of the legal  issue that either  (1)
                        _____________

          becomes precedent  applicable to any other  proceedings under the

          law of  stare decisis or (2)  applies to others under  the law of
                  _____________

          claim preclusion or issue  preclusion.  See Martin v.  Wilks, 490
                                                  ___ ______     _____

          U.S. 755 (1989)(parties to litigation cannot enter into a consent

          judgment  that will  preclude  a person  not  made a  party  from

          bringing  a later  suit alleging  violation of  his or  her legal

          rights).  The resolution of the legal dispute by consent judgment

          is nonetheless binding  on the parties  to the case in  which the

          consent judgment is  entered.  The parties to this case are bound

          by  the  rules  of  law declared  in  the  Permanent  Injunction,

          although no other parties are so bound.

                    We state the point  more generally.  When a  dispute of

          law  exists  between  parties  to a  case  and  they  agree  to a

          settlement of that dispute and entry of a judgment with prejudice

          based  on that  settlement, then  the terms  of that  judgment in

          relation  to  that  legal  issue  are  subject  to  res  judicata

          principles.   A judgment that is entered with prejudice under the

          terms of a settlement, whether by stipulated dismissal, a consent

          judgment,  or  a  confession  of  judgment,  is  not  subject  to

          collateral attack by a party or  a person in privity, and it bars

          a second  suit on  the same  claim or  cause of  action.   See 1B
                                                                     ___ __

          Moore's Federal Practice  .409[5] (2d ed. 1995).  Such a judgment
          ________________________

          has the  force of res judicata  until further order of  that or a

          higher court  modifying that consent judgment.   This proposition

          is supported  in a large  body of  precedent.  See,  e.g., In  re
                                                         ___   ____  ______


                                         -12-














          Medomak v. Canning,  922 F.2d  895 (1st Cir.  1990) (generally  a
          _______    _______

          court-approved settlement  receives the same res  judicata effect

          as a litigated judgment); accord, In Re Laing, 31 F.3d 1050 (10th
                                    ______  ___________

          Cir.  1994); Keith  v. Aldridge,  900 F.2d  736 (4th  Cir. 1990),
                       _____     ________

          cert.  denied,  498 U.S.  900 (1990);  Epic  Metal Corp.  v. H.H.
          _____________                          _________________     ____

          Robertson  Co., 870 F.2d 1574 (Fed. Cir. 1989), cert. denied, 493
          ______________                                  ____________

          U.S. 855 (1989); Kurzweg v. Marple, 841 F.2d 635 (5th Cir. 1988);
                           _______    ______

          Amalgamated Sugar Co.  v. NL  Industries, 825 F.2d  634 (2d  Cir.
          _____________________     ______________

          1987), cert. denied, 484 U.S. 992 (1987).
                 ____________




































                                         -13-














                       III.  Settling Disputable Issues of Law
                       III.  Settling Disputable Issues of Law

                    Defendants have  not called attention to  any "specific

          court  order  or legislative  authorization" occurring  after the

          entry  of the Permanent Injunction.   Defendants' position is not

          salvaged by the language in the Permanent Injunction stating that

          defendants  are enjoined  under the  state and federal  acts from

          intercepting telephone calls, 

                    except  as  specifically  permitted by  these
                    statutes, taken together,  as they have  been
                    amended or  may be  amended and as  they have
                    been construed in reported decisions that are
                    binding in this Court  or in the state courts
                    of Massachusetts.

          The statutes  do not  "specifically permit" the  Regulations, and

          the   meaning  of   the   statutory   provisions  for   permitted

          interception  and  monitoring,  as  "amended" or  "construed"  in

          "binding"  decisions, is  at  least reasonably  susceptible to  a

          construction contrary to defendants' proposed interpretation.  

                    Defendants  contend that the Regulations do not violate

          the  state or  federal  wiretapping statutes  for three  reasons.

          Even now, reasonable arguments can  be advanced against, as  well

          as for, each of defendants' contentions about the applicable law.

                    First,  defendants argue that the Massachusetts Wiretap

          Act, Mass.  Gen. L. ch. 272,    99 et seq., prohibits only secret
                                             __ ____

          "interception",  and  monitoring  under  the  Regulations  is not

          secret  and  therefore  not   prohibited.    The  1984  Permanent

          Injunction,  however,  prohibited  conduct that  would  amount to

          "interception" under federal law, even if that conduct  would not

          amount to "interception"  under state law.   The federal  wiretap

                                         -14-














          act, 18 U.S.C.    2510, et seq., does not make secrecy  decisive.
                                  __ ____

          That act, as of 1984, defined the term "intercept" as simply "the

          aural   acquisition  of  the  contents  of   any  wire,  or  oral

          communication through  the use of any  electronic, mechanical, or

          other device."  18 U.S.C.   2510(4).  Monitoring and recording of

          plaintiffs'   telephone   calls   under  the   Regulations   thus

          constitutes "interception" under  the 1984 Permanent  Injunction,

          despite its being performed openly and without secrecy.

                    Second,  defendants  attempt  to  argue  that  the  new

          Regulations do not violate  the 1984 Permanent Injunction because

          the  definition of "interception"  within the federal wiretapping

          act,  at 18  U.S.C.    2510(5),  expressly excludes  recording or

          monitoring  performed  "by an  investigative  or law  enforcement

          officer  in  the  ordinary  course of  his  duties."   Defendants

          interpret  the statute  to  mean that  monitoring by  corrections

          officials  under  the  Regulations   falls  within  the  excluded

          category.   The defendants have not shown beyond genuine dispute,

          however, that  in monitoring conversations  corrections officials

          would be  acting as "investigative or  law enforcement officer[s]
                               _____________         ___________

          in  the ordinary  course  of [their]  duties."   Defendants  cite
                  ________

          several cases from other courts that  may be read as so  holding.

          United States v.  Sabubu, 891  F.2d 1308, 1328  (7th Cir.  1989);
          _____________     ______

          United  States v. St.  Paul, 614 F.2d  115, 117 (6th  Cir. 1980);
          ______________    _________

          State v. Fornino, 539  A.2d 301, 308 (N.J.  Super. Ct. App.  Div.
          _____    _______

          1988).  We are, however,  aware of no reported decisions to  this

          effect that are binding in  this court or in the state  courts of


                                         -15-














          Massachusetts.  In  Campiti v.  Walonis, 611 F.2d  387, 392  (1st
                              _______     _______

          Cir. 1979), the  First Circuit expressly reserved  decision as to

          whether  monitoring  in  accordance  with an  established  prison

          policy of which the prisoners were informed could qualify as part

          of  the ordinary course of business of a law enforcement officer.

          The  issue in this circuit was  in 1984, and still is, reasonably

          debatable.

                    Finally, defendants  argue the  new Regulations  do not

          violate  the 1984  Permanent Injunction  because the  federal act

          under 18  U.S.C.   2511(2)(c) permits monitoring  or recording by

          "a person acting under color of law" where "one of the parties to

          the communication has given  prior consent to such interception."

          Defendants  contend  that  the  Regulations  meet  the  one-party

          consent exception  of the  federal act because  inmates impliedly

          consent to be monitored  when they use the telephone  after being

          made  aware that  monitoring of  calls is  a condition  for being

          allowed to use the  telephone.  Defendants have cited  cases from

          other jurisdictions  holding that  execution of forms  by inmates

          that  acknowledge their  understanding that  their calls  will be

          monitored  constitutes consent  under  the federal  act, even  if

          inmates  are  denied telephone  access if  they  do not  sign the

          forms; and that  calls placed by  inmates despite express  notice

          from  stickers  on  the  telephones  and  the  message  from  the

          automated  operator  that   accompanies  every  call  constitutes

          consent.   See United  States v. Horr,  963 F.2d  1124, 1126 (8th
                     ___ ______________    ____

          Cir.  1992); United States v. Amen, 831 F.2d 373, 378-79 (2d Cir.
                       _____________    ____


                                         -16-














          1987); United States v.  Willoughby, 860 F.2d 15, 20-21  (2d Cir.
                 _____________     __________

          1988); United States v.  Paul, 614 F.2d 115, 117 (6th Cir. 1980);
                 _____________     ____

          United States v. Valencia, 711 F. Supp. 608, 611 (S.D.Fla. 1989);
          _____________    ________

          United States v. Green,  842 F. Supp. 68, 71-71  (W.D.N.Y. 1994).
          _____________    _____

          Defendants  also  argue  that  because  the  Regulations  require

          positive  call  acceptance from  the  recipient  after hearing  a

          recorded  message,   recipients  are  deemed  to  have  impliedly

          consented.  Defendants, however, cite no cases to this effect.

                    Once again, we are aware  of no reported decisions that

          are  binding  in   this  court   or  in  the   state  courts   of

          Massachusetts,  holding  that  this  type  of   prison  telephone

          monitoring system  meets the  one-party consent exception  to the

          federal  wiretapping  act   due  to  implied  consent.    It  may

          reasonably  be argued that "implied consent" in this sense is not

          a free and voluntary consent; it is instead no more than a choice

          between  unattractive  options --  a  limited  choice imposed  on

          plaintiffs by defendants.  The issue then becomes whether the law

          allows  the defendants to impose this limitation of choice on the

          defendants  and call their response  an implied consent.   At the

          least, grounds exist for genuine dispute about whether defendants

          are  authorized by  law  to  impose  such  a  limited  choice  on

          plaintiffs    and   whether   "implied   consent"   under   these

          circumstances  is "consent" as that  term is used  in the federal

          act,  and  legally  effective  consent   under  the  Department's

          regulations.   See Griggs-Ryan v.  Smith, 904 F.2d  112 (1st Cir.
                         ___ ___________     _____

          1990)  (holding  that  "implied  consent"  is  consent  in  fact,


                                         -17-














          inferred from  associated circumstances  indicating that  a party

          knowingly agreed to surveillance).

                    The issue of what  constitutes "implied consent" in the

          prison context has not yet been directly addressed by this court,

          and we do not decide it here.  It is sufficient to point out that

          plaintiffs  in  this  case   have  not  consented,  impliedly  or

          otherwise, to the monitoring scheme; plaintiffs instead brought a

          contempt action under the  Permanent Injunction, an opposition to

          defendants'  motion  to  dismiss  the  contempt  action,  and  an

          opposition  to  defendants'   motion  for  modification  of   the

          Permanent  Injunction.   We do not read Griggs-Ryan as supporting
                                                  ___________

          the  view  that an  inmate has  impliedly  consented to  the very

          scheme  the  inmate has  challenged as  a  violation of  the 1984

          Permanent Injunction.  

                    Defendants entered into  a Settlement Stipulation under

          which each party gave up the right to have the dispute  as to the

          meaning of the federal and state wiretapping statutes resolved by

          a court.   The meaning of what was permitted  under the state and

          federal  wiretapping  statutes   was  ambiguous  and   reasonably

          debatable.  Defendants  have no  right to have  that dispute  now

          decided  in  their  favor and  then  to  use  that resolution  to

          interpret the terms of the Permanent Injunction.

                    Of course,  this does  not mean defendants  are forever

          barred  from moving that the court orders be vacated or modified.

          Special  rules are applicable  to institutional  consent decrees,

          but  they concern  grounds for  vacating  or modifying  a consent


                                         -18-














          decree,  rather  than  undermining  the  force  of  this  body of

          precedent in relation to  the effect of the consent  decree until

          vacated  or  modified.   We perceive  no  error in  Judge Zobel's

          invoking for  guidance, in  her consideration of  the defendants'

          motion for modification of the 1984 Permanent  Injunction in this

          case,   the  body   of  precedent   applicable  to   motions  for

          modification  of  a  consent  decree.   This  body  of  precedent

          includes the case on which she relied especially, Rufo v. Inmates
                                                            ____    _______

          of Suffolk County Jail, 502 U.S. 367 (1992) (holding that a party
          ______________________

          seeking  modification of  a consent decree  may meet  its initial

          burden  by  showing  a   significant  change  either  in  factual

          conditions or in law).   Under the  guidance of Rufo, however,  a
                                                          ____

          court considering such a motion would be concerned with tailoring

          modifications according to intervening changes in law (as well as

          fact).   It would not be deciding the original dispute about what

          would have been  a court's answer to the dispute  had the parties

          not entered into their Settlement Stipulation.



                         IV.  The Nature of the 1995 Judgment
                         IV.  The Nature of the 1995 Judgment

                    When these  legal principles  are applied here,  can it

          reasonably be  said that the  1995 Judgment modified  the consent

          decree in  plaintiffs' favor, as defendants  contend, rather than
                 _____________________

          only in defendants' favor though less substantially  so than they

          requested?   We conclude that,  as properly construed  in the way

          explained  below,  the  1995  Judgment  modified   the  Permanent

          Injunction  only  in defendants'  favor.    It was  appropriately


                                         -19-














          tailored  to the only changes in law  or in fact disclosed on the

          record  before  the  district  court  as  developed  after  ample

          opportunity for defendants to  present both legal and evidentiary

          support for their motion for modification.

                    The  only changed  circumstances  shown on  the  record

          before  the district court at the  time of its 1995 Judgment were

          changes  of  fact  with  respect  to  technology  of  initiating,

          detailing,  effecting,  monitoring,   and  recording   electronic

          transmissions, including  telephone calls.   The only  changes of

          law shown  were those effected when the  Department of Correction

          adopted new regulations, published  in 403 CMR    482.10  et seq.
                                                                    __ ____

          Rather  than  attempting  to   show  that  the  district  court's

          modifications, recited in the  1995 Judgment, were not reasonably

          tailored  to those changes, defendants seek to show that the 1984

          Permanent Injunction was  not in  any respect a  settlement of  a

          disputed issue of law but instead preserved their unlimited right

          to assert their view of the law and have that dispute decided now

          in their favor.

                    Defendants  ask  us  on  this appeal  to  resolve  that

          original dispute about the law in their favor, and argue that the

          district court should have done so instead of conceiving its duty

          as one of considering whether intervening changes of law (as well

          as fact) had occurred, and, if so, how to tailor modifications of

          the consent decree accordingly.  We reject this contention.

                    The  key modification of  the 1984 Permanent Injunction

          that the 1995 judgment makes is explained:


                                         -20-














                    Modification  of   the  Permanent  Injunction
                    entered by this court  on October 15, 1984 is
                    required for the Department of  Correction to
                    apply new inmate telephone access regulations
                    to the plaintiffs.

          The 1995 judgment adds,  for clarity, a statement of  some of the

          terms that remain in effect.  These terms are not enlargements of

          the terms  of the Permanent Injunction in plaintiffs' favor; they

          simply  clarify  limits  on the  scope  of  the modifications  in

          defendants' favor.

                    The  1995 judgment  says  nothing,  either directly  or

          impliedly,  about how  any  future motion  for modification  with

          appropriate  showing  of  cause  and  request  for  appropriately

          tailored relief should be heard and decided under  the principles

          of  Rufo, 502  U.S. 367.   Nor  do we.   Instead,  we leave  such
              ____

          matters  for decision in  the future  only if  and when  they are

          appropriately presented first in district court.



                                    V.  Conclusion
                                    V.  Conclusion

                    For   the   foregoing  reasons   Defendants-Appellants'

          arguments  fail.   The  1995 judgment  of  the district  court is

          AFFIRMED.
          ________














                                         -21-


















                                                          "Dissent Follows"
                                                          "Dissent Follows"
















































                                         -22-














                    BOUDIN,  Circuit Judge,  dissenting.   This case  turns
                    BOUDIN,  Circuit Judge,  dissenting
                             _____________   __________

          centrally  on the interpretation of a provision of a 1984 consent

          decree  settling a case that Langton  and LeBlanc brought against

          Massachusetts  corrections officials.    The  majority's  opinion

          contains  many  unexceptionable statements  of  law,  but on  the

          pivotal issue--the  reading of a sentence of the 1984 decree--the

          majority's  reading  simply  does  not  square  with  either  the

          decree's  language or  its purpose.    Indeed, because  this case

          involves the regulation of a state agency by federal judges under

          an  elderly  consent  decree,  it  raises  issues  of  policy and

          judicial  attitude that  go beyond  a mere  quarrel about  decree

          language.

                    1.   In 1979, Langton  and LeBlanc filed  a 1983 action

          against the state prison authorities complaining of mistreatment.

          The  complaint   alleged  that  using  corrections   officers  to

          distribute  medication   violated  state  health  laws   and  the

          Constitution; that the number of telephone calls permitted to the

          plaintiffs was  too few and the time limit too short; and finally

          that the prison had been monitoring telephone calls--one call  by

          Langton to  an attorney  was specified--and that  such monitoring

          violated 18 U.S.C.   2510 and Mass. Gen. Laws  ch. 272,   99, the

          federal and state wire-tapping statutes.

                    In  an   April  1983   decision,  the   district  court

          considered  the  medication  and  limited-calls  issues  at  some

          length,  and  it  concluded that  no  protected  rights had  been

          violated and ordered summary  judgment for the defendants.   In a


                                         -23-














          brief discussion of the monitoring issue, the district court said

          that "[n]on-consensual monitoring of  inmate calls may violate 18

          U.S.C.    2510,"  citing  a then-recent  decision of  this court.

          Although the  defendants  denied any  such monitoring,  Langton's

          affidavit described  one  incident in  which  he thought  that  a

          telephone call to his  lawyer had been monitored; the  court said

          that the affidavits,  "if just barely,"  created a factual  issue

          precluding summary judgment.

                    In  October  1984  the  parties  entered  a  settlement

          agreement  that dealt  with  several different  grievances.   The

          proposed  remedies included  new regulations  permitting inmates'

          access  to telephones for at least 15 minutes per day, furnishing

          Langton  a three-drawer metal file cabinet and a stereo system in

          his  cell,  and  arrangements  concerning  Langton's  use  of  an

          electric typewriter  in the prison library.  Finally, the parties

          agreed  to  the  entry  of  a  permanent  injunction  whose  main

          paragraph read as follows:

                         All   officers,    agents,   servants,
                      employees and attorneys of the Department
                      of  Correction are  enjoined permanently,
                      under both 18 U.S.C.     2510 et seq. and
                                                    __ ____
                      M.G.L.   c.  272,    99   et  seq.,  from
                                                __  ____
                      intercepting,  endeavoring  to intercept,
                      or   procuring   any   other  person   to
                      intercept, any wire  communication by  or
                      to  William  Langton  or  David  LeBlanc,
                      inmates   within   the  custody   of  the
                      Department,  without   a  specific  court
                      order or legislative authorization  to do
                      so, except as  specifically permitted  by
                      these statutes, taken  together, as  they
                      have  been amended or  may be amended and
                      as  they have  been construed  or may  be
                      construed in reported decisions  that are
                      binding  in this  Court or  in the  state

                                         -24-














                      courts of Massachusetts.

                    There has been no showing  that this provision aimed to

          resolve any dispute between the parties as to what was or was not

          unlawful.    Indeed,  the   settlement  agreement  said,  in  the

          paragraph proposing the injunction just quoted, that  corrections

          officers "specifically deny that any of them, or anyone acting in

          concert  with any of them,  ever intercepted or  monitored any of

          Langton's or  David LeBlanc's  wire communications by  any means,

          lawful or  unlawful .  . .  ."  In  short, the  parties disagreed

          about whether monitoring had occurred, and the matter was settled

          by a forward-looking decree that  enjoined obedience to two cited

          statutes.

                     In  recent years,  prisons have encountered  a growing

          number  of problems created  by inmate  telephone calls.1   These

          problems  include the  use of  telephones to obtain  narcotics in

          prisons, to promote  illegal drug  trading outside  of prison  as

          well as other  criminal operations, commit fraud in  the purchase

          of  merchandise  and  goods  for  prisoners,  and  to  carry  out

          obstructions   of  justice   and   escape  plots.      Ultimately

          Massachusetts followed a number of other prison systems including

          the federal  prison system in  adopting a standardized  regime to

          control and track inmate use of the telephone system.

                    The new Massachusetts regime allows each inmate to list

                              
          ____________________

          1  This  intervening history is  recounted in defense  affidavits
          filed  in  the district  court incident  to  the latest  round of
          litigation  and  the  description  was largely  accepted  by  the
          district court.

                                         -25-














          up  to ten  family members  and  friends and  up to  five private

          attorneys  or  law  firms,  in addition  to  three  automatically

          authorized legal service organizations.  Each inmate can  place a

          call only by using his or her personal identification number, and

          the  technology restricts  the call  to one  of the  18 telephone

          numbers authorized for that inmate.  To obtain such a PIN number,

          the inmate completes a form that requires the inmate's consent to

          various conditions, including call monitoring, call recording and

          the retention  of various "details"  incident to the  call (e.g.,
                                                                      ____

          the  time  of the  call,  the  number  called).    But  calls  to

          attorneys, law firms and the  legal service organizations are not
                                                                        ___

          subject to monitoring or recording.

                    Langton and  LeBlanc refused  to  complete the  consent

          forms, were denied telephone  access, and in June 1994  began the

          contempt proceeding that prompted  the present appeal.  When  the

          defendants  moved to dismiss the petition on the ground that they

          had not violated the consent decree, the district judge indicated

          that a  motion to  modify the  decree should be  filed.   Without

          agreeing  that  it  was   necessary,  the  defendants  filed  the

          suggested  motion.   Their  affidavits provide  reasons why  they

          think  it impractical or dangerous to  except Langton and LeBlanc

          from the regime that is now applied to all other prisoners.

                    In  February  1995,  the   district  judge  entered  an

          unpublished decision  which treated the issue before the court as

          a motion for modification of the consent decree.  Fed. R. Civ. P.

          60(b)(5), (6).  The court granted the government's motion in part


                                         -26-














          and denied it in part, ruling that the new regime  did respond to

          new  technology  and real  threats  of  abuse, that  Langton  and

          LeBlanc could be limited as to the number of telephone calls they

          could  make, but that there was no  pattern of abuse by either of

          them to justify the monitoring  of their calls.  The core  of the

          court's injunctive  judgment  is  that  prison  officials  cannot

          monitor or record calls made by these two plaintiffs.

                    2.   The  broad  question  on  appeal  is  whether  the

          monitoring and  recordation regime  violates the  consent decree.

          The  district  court  evidently  assumed that  it  did--thus  its

          suggestion that  the government file a  motion for modification--

          but it never  addressed this issue in detail.   Yet if the regime

          does not violate the consent decree, the contempt proceeding case

          should have  been  dismissed and  the Rule  60(b) motion  mooted.

          Langton  and LeBlanc  have never  moved to  modify the  decree to

          enlarge their rights; and  prison officials, in moving  to modify

          the  decree  in their  favor  (in  accordance  with the  district

          court's suggestion), certainly were not abandoning  their bedrock

          position that the new regime was  lawful under the decree and did

          not require any decree modification.

                    In  my view,  a  realistic reading  of the  1984 decree

          provision is that it  effectively enjoined state prison officials

          from violating the cited  provisions of federal or state  law and
                                                                        ___

          nothing  more.   True  the provision  was  clumsily worded:    it
          _____________

          juxtaposed  a  ban on  interception,  itself  a term  differently

          defined under the two cited statutes, with an awkward but broadly


                                         -27-














          worded qualification, namely, that  interceptions are allowed "as

          specifically permitted  by the statutes, taken  together, as they

          may have  been amended or  may be amended  and as they  have been

          construed  or may  be construed  in reported  decisions  that are

          binding in this Court or the state courts of Massachusetts."

                    The injunction  could and  probably should have  used a

          much   simpler  formulation,   such  as   a  ban   on  "unlawful"

          interceptions, but  everyone knows  that lawyers  often overwrite

          legal documents.  There is no indication anywhere that the phrase

          "specifically  permitted" means  anything more  than "permitted,"

          the term  "specifically" being  the kind  of legal  flourish that

          usually causes more trouble  than it solves.   In any event,  the

          provision  itself describes  the defendants  as "enjoined  .  . .

          under both 18 U.S.C.     2510 et seq. and M.G.L. c. 272,    99 et
                                        __ ____                          __

          seq." and nothing in  the provision suggests that the  injunction
          ____

          was intended to be broader than the statutes themselves.

                    This   view   is   confirmed   by   the  "circumstances

          surrounding  the  formation  of  the  consent  order"  which  are

          properly considered in its interpretation.  United States v.  ITT
                                                      _____________     ___

          Continental  Baking Co.,  420 U.S.  223, 238  (1975).   The casus
          _______________________                                     _____

          belli,  it  must be  remembered, was  a  claim, denied  by prison
          _____

          officials, that  they  had  monitored an  inmate's  call  to  his

          lawyer, something that no one would expect a court or legislature

          to  authorize.   The prison  officials, who never  contended that

          such a monitoring  of calls  to lawyers would  be lawful,  simply

          denied  that they did any  monitoring.  The  parties then settled


                                         -28-














          the  case by having the  defendants enjoined to  obey federal and

          state law on interception,  as it might be construed by courts or

          amended by legislatures from time to time.

                    The  panel majority expresses disbelief that plaintiffs

          in a lawsuit would ever settle merely for a promise by defendants

          to  obey the  law.   But in  fact such  provisions are  common in

          decrees (SEC consent decrees  are a classic example) and,  in any

          event, a promise simply to obey the law made perfectly good sense

          in  this case.   The  settlement provided  Langton and  LeBlanc a

          small  number  of specific  benefits  already described.    As to

          telephone monitoring, the prison did not defend listening in on a

          telephone  call between an inmate and his lawyer, but denied that

          monitoring had occurred  or was routinely practiced.  Langton and

          LeBlanc then settled for a general provision that made the prison

          officials subject to contempt proceedings if they did violate the

          law in the future.

                    If the  decree  is  read  in  this  fashion,  then  the

          contempt motion boils  down to the question  whether the prison's

          new regime is lawful under the relevant statutes.  Nothing in the

          decree's terms  prohibits monitoring or  recording as such.   The

          decree uses the term "interception" which is a  statutory concept

          freighted with exceptions, and the decree's ban is itself subject

          to the broad "except as" clause already described.  Nor does  the

          panel majority hold that the present regime is unlawful under the
                         ____

          federal and state statutes but only that reasonable arguments can

          be made on both sides.


                                         -29-














                    The issue of the regime's lawfulness under the statutes

          may  be debatable, but  it is doubtful  that it is  a close call.

          Massachusetts has  adopted  a  widely  used model,  used  by  the

          federal  prison system as well, see generally 28 C.F.R.   540.100
                                          ___ _________

          et seq.,  and practically all  the case  law cited in  the briefs
          __ ____

          tends  to support it.2  Given  the general wording of the federal

          and  state statutes,  and  the strong  policy considerations  for

          giving prison officials "appropriate deference  and flexibility,"

          Sandin  v.  Conner, 115  S.  Ct. 2293,  2299  (1995), it  is very
          ______      ______

          unlikely that a regime like that of Massachusetts would be struck

          down,  even if  there are  possible occasional  applications that

          might raise hard questions.

                    In any  event, once  it is  understood that the  decree

          only  precludes  unlawful  interception, the  district  court has
                           ________

          provided no  basis for  entering a  judgment  against the  prison

          officials  since that court did not find that the regime violated

          federal or state law.   It is true that this general  question is

          one of law that we might in theory resolve ourselves; but no such

          theory has  been adequately  briefed  by the  plaintiffs, and  no

          decision  of a  district  court  on  this  issue  has  ever  been

          rendered.   The  proper solution  in this  case is to  vacate the
                              
          ____________________

          2   E.g., United States  v. Horr, 963  F.2d 1124, 1126  (8th Cir.
              ____  _____________     ____
          1992);  United States v. Sababu, 891 F.2d 1308, 1326-30 (7th Cir.
                  _____________    ______
          1989); United States v.  Willoughby, 860 F.2d 15, 19-21  (2d Cir.
                 _____________     __________
          1988);  Martin v.  Tyson, 845  F.2d 1451,  1458 (7th  Cir. 1988);
                  ______     _____
          United  States  v. Amen,  831 F.2d  373,  378-80 (2d  Cir. 1987);
          ______________     ____
          United States v. Paul, 614 F.2d 115, 117  (6th Cir. 1980); United
          _____________    ____                                      ______
          States v. Green, 842  F. Supp. 68, 71-72 (W.D.N.Y.  1994); United
          ______    _____                                            ______
          States v. Valencia, 211  F. Supp. 608, 611 (S.D.  Fla. 1989); Lee
          ______    ________                                            ___
          v. Carlson, 645 F. Supp. 1430, 1438-39 (S.D.N.Y. 1986).
             _______

                                         -30-














          district court's 1995 judgment and remand to give the  plaintiffs

          the  opportunity to show that the present regime is unlawful, and

          therefore in violation of the decree.
          _________

                    The  panel  majority's  contrary  construction  of  the

          decree does not rest on an  attempt to grapple seriously with its

          language and  background.  Rather, the  majority relies primarily

          on several  rather general propositions:   that parties sometimes

          do resolve  by consent  decree legal issues  that are  reasonably

          debatable, that such resolutions have an operative effect through

          the consent decree, and that parties are bound by the decree even

          if  the  legal issues  should have  been  decided the  other way.

          These notions might have some bearing if the prison officials had

          agreed, with no exceptions, that "monitoring and recordation" are

          prohibited.  But the defendants  did not make such a bargain,  so

          the general propositions relied  on by the majority have  nothing

          to do with this case.

                    To sum  up,  the panel  majority  could decide  on  the

          merits  whether the  new  Massachusetts regime  does violate  the

          federal or  state statutes, and it would  be equally permissible,

          and in my view more appropriate, to vacate the 1995  judgment, to

          remand and to  allow the district court  to consider this  set of

          issues  in the  first instance.   But what  is not  tenable is an

          interpretation  of  the  1984  consent  decree,  without  serious

          support  in either  its  phrasing or  its  context, that  enjoins

          Massachusetts officials from doing  what (so far as we  know from

          the precedents) they  lawfully can do under existing  federal and


                                         -31-














          state law.

                    Courts have been widely  criticized in recent years for

          excessively interfering with  state institutions such as  prisons

          and, of  course, these charges  are often made  by those who  are

          unaware  of the abusive  conditions that the  federal decrees are

          invoked  to remedy.  But  it does behoove  federal judges--who do

          not    have   political   responsibility   for   managing   these

          institutions--to  consider   with  care  and  modesty   how  they

          interpret  their  authority,  especially  in  construing  elderly

          decrees as applied to entirely new sets of conditions.


































                                         -32-









